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Attorneys for Defendants William Bowser, Noah Corporation, and
Gabriel Management Corporation


      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                 CENTRAL DIVISION


ROSA DiTUCCI, an individual; STEVEN R.       NOAH CORPORATION’S NOTICE OF
LaROZA, an individual; DEBRA A. LaROZA, FILING OF CHAPTER 11 BANKRUPTCY
an individual; BRUCE I. ROSE, an individual;
MAUREEN A. ROSE, an individual;
SANFORD ROBERTS, an individual;               Case No. 2:19-CV-00277-DBP
HELAINE B. ROBERTS, an individual;
RUSSELL E. HERTRICH, an individual;           District Judge Clark Waddoups
FRED JACOB, an individual; EDWARD A.
HENNESSEY, an individual, PAMELA A.
CAPLINGER, an individual, on behalf of the
ESTATE OF JAMES M. CAPLINGER, JR.;
RUSSELL E. HERTRICH REVOCABLE
TRUST; SANFORD ROBERTS REVOCABLE
TRUST; HELAINE B. ROBERTS
REVOCABLE TRUST; THE FRED JACOB
LIVING TRUST; EDWARD A. HENNESSY
2001 REVOCABLE TRUST; CAMAC, INC., a
Kansas corporation; and BLUSH PROPERTY,
LLC, a Florida limited liability company;

       Plaintiffs,

vs.

CHRISTOPHER J. ASHBY, an individual;
JOHN D. HAMRICK, an individual; JORDAN
S. NELSON, an individual; WILLIAM
BOWSER, an individual; SCOTT B.
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LeFEVRE, an individual; CHRIS BROWN, an
individual; SCOTT RUTHERFORD, an
individual; ROCKWELL DEBT FREE
PROPERTIES, a Utah corporation;
ROCKWELL TIC, INC., a Utah corporation;
NOAH CORPORATION, a Utah corporation;
EDMUND AND WHEELER, a New
Hampshire corporation; ROCKWELL
INDIANAPOLIS, LLC, a Utah limited liability
company; GABRIEL MANAGEMENT
CORPORATION, a Utah corporation;
LeFEVRE MANAGEMENT, INC. d/b/a
CADENCE PROPERTY ADVISORS d/b/a
CADENCE PROPERTY ADMINISTRATORS,
a Utah corporation; JOHN DOES 1–X, and
ROE CORPORATIONS I–X,

      Defendants.


       Defendants William Bowser, Noah Corporation, and Gabriel Management Corporation,

by and through counsel, hereby furnishes notice that on May 28, 2019, Noah Corporation filed a

petition for bankruptcy pursuant to Chapter 11 of the Bankruptcy Code. The bankruptcy

proceeding is pending in the United States Bankruptcy Court for the District of Utah and bears

Case No. 19-23840.

       DATED this 28th day of May, 2019.

                                            BENNETT TUELLER JOHNSON & DEERE


                                            /s/ Daniel K. Brough
                                            Daniel K. Brough

                                            Attorneys for Defendants William Bowser, Noah
                                            Corporation, and Gabriel Management
                                            Corporation




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                               CERTIFICATE OF SERVICE

       I certify that on the 28th day of May, 2019, I caused the foregoing NOAH

CORPORATION’S NOTICE OF FILING OF CHAPTER 11 BANKRUPTCY to be

electronically filed utilizing the Court’s CM/ECF system, which delivered immediate notice of

the same to the following:

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                                                   /s/ Daniel K. Brough




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